        Case 6:19-cr-00257-AA    Document 61     Filed 08/03/20   Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                EUGENE DIVISION




UNITED STATES OF AMERICA,                                Case No. 6:19-cr-00257-AA
                                                          OPINION AND ORDER
             Plaintiff,

      vs.

CARLOS A. BERRIOS,

             Defendant.


AIKEN, District Judge:

      The matter before me is defendant Carlos A. Berrios’ Motion for Pretrial

Release (doc. 56). I held oral argument on the motion on July 31, 2020, and denied

the motion on the record for the following reasons. Doc. 60.

                                   DISCUSSION

      Mr. Berrios is a post-plea defendant detained at Federal Correctional

Institution (“FCI”) Sheridan. On January 23, 2020, Mr. Berrios entered a plea of

guilty to one count of possession with intent to distribute 50 grams of more of




Page 1 – OPINION AND ORDER
        Case 6:19-cr-00257-AA     Document 61     Filed 08/03/20   Page 2 of 8




methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(viii), which

carries a mandatory minimum sentence of 10 years’ imprisonment, § 841(b)(1)(A).

Docs. 39, 41. The Court ordered him remanded into custody pending sentencing,

which is scheduled for October 7, 2020. Doc. 54. Before his plea, Mr. Berrios had

been detained as a flight risk and a danger to the community. Doc. 7.

      Mr. Berrios moves for temporary pretrial release under 18 U.S.C. § 3142(i),

which permits “the temporary release of [a] person” if “the judicial officer determines

such release is necessary for the preparation of the person’s defense or for another

compelling reason.”     He argues that the COVID-19 pandemic presents new

circumstances that place him in danger of becoming infected if he remains

incarcerated and that continued detention at FCI Sheridan violates his due process

rights, the Eighth Amendment’s prohibition on cruel and unusual punishment, and

his right to counsel. Mot. (doc. 56) at 2–3. The Government argues that because Mr.

Berrios pleaded guilty and is awaiting sentencing, 18 U.S.C. § 3143 governs his

motion for release, not § 3142. Resp. (doc. 57) at 2–3. And the Government argues

that § 3143 compels detention here.

      Although district courts are split about whether temporary release provision

in § 3412(i) can apply to post-plea defendants, see United States v. Miller, 3:19-cr-

00048-AA, 2020 WL 1976817, at *2 n.4 (D. Or. Apr. 24, 2020), I agree with the

Government that § 3143(a), which governs “[r]elease or detention pending

sentence[,]” appears to apply to Mr. Berrios’ motion. And, as explained below, under

those standards, I cannot grant the motion unless I find “exceptional reasons” for




Page 2 – OPINION AND ORDER
           Case 6:19-cr-00257-AA        Document 61       Filed 08/03/20     Page 3 of 8




release.    Even if § 3142(i) applies to this motion, I cannot find “exceptional” or

“compelling” reasons for release on this record.

       Under § 3143(a), “the judicial officer shall order that a person who has been

found guilty of an offense” and “who is awaiting imposition or execution of sentence

unless” the judicial officer finds that certain conditions are met.                See 18 U.S.C.

§§ 3143(a)(1), (2) (emphases added).           Because Mr. Berrios pleaded guilty to “an

offense in a case described in subparagraph (A) . . . of subsection (f)(1) of section 3142

and is awaiting imposition . . . of a sentence,” § 3143(a) requires that he be detained

unless:

       (A)(i) [I] find[] there is a substantial likelihood that a motion for
       acquittal or new trial will be granted; or
       (ii) an attorney for the Government has recommended that no sentence
       be imposed on [Mr. Berrios]; and

       (B) [I] find[] by clear and convincing evidence that the person is not
       likely to flee or pose a danger to any other person or the community.

18 U.S.C. § 3143(a)(2).1

       As mentioned, Mr. Berrios pleaded guilty to an offense that carries a

mandatory minimum of 10 years’ imprisonment. Thus, I cannot find that there is a

substantial likelihood that a motion for acquittal or new trial will be granted, and the

Government cannot recommend that no sentence be imposed.                              Indeed, the

Government has already recommended a 135-month term of imprisonment. Doc. 49.




       1 Offenses described in 18 U.S.C. § 3142(f)(1)(A) include those “for which a maximum term of

imprisonment of ten years or more is prescribed in the Controlled Substances Act,” 21 U.S.C. § 801 et
seq.



Page 3 – OPINION AND ORDER
        Case 6:19-cr-00257-AA     Document 61     Filed 08/03/20   Page 4 of 8




      However, for a person like Mr. Berrios who is subject to detention under

§ 3143(a)(2), 18 U.S.C. § 3145(c) provides an safety valve permitting release if (1) the

court finds by clear and convincing evidence that the person is not likely to flee or

pose a danger to the safety of any other person or the community and (2) “it is clearly

shown that there are exceptional reasons why such person’s detention would not be

appropriate.”

       Mr. Berrios did not respond to the Government’s arguments under

§§ 3143(a)(2) and 3145(c) and, thus, did not directly argue that there are “exceptional

reasons” for his release from detention. Nevertheless, Mr. Berrios’ asserted reasons

for release—the risk of illness and lockdown conditions due to the COVID-19

outbreak at FCI Sheridan—are neither “exceptional” under § 3145(c) nor

“compelling” under § 3142(i).

      There are currently two inmates at FCI Sheridan who have tested positive for

COVID-19.       COVID-19 Coronavirus, FED. BUREAU OF PRISONS (July 31, 2020),

https://www.bop.gov/coronavirus/ (last visited July 31, 2020). After the first positive

result was received on July 2, 2020, Sheridan conducted mass testing of all inmates

housed at the Federal Detention Center, where the inmate was housed. Doc. 57, Ex.

1 at 6. Only one other inmate has tested positive, and that positive result was

received early in the week of July 27, 2020. Mr. Berrios is 29 years old and admits

that he “does not have any underlying health conditions which would put him in a

high risk group from dying from COVID-19[.]” Mot. (doc. 56) at 3. Given the low

number and marginal increase of confirmed COVID-19 cases at FCI Sheridan, despite




Page 4 – OPINION AND ORDER
            Case 6:19-cr-00257-AA       Document 61       Filed 08/03/20      Page 5 of 8




widespread testing this month, and Mr. Berrios’ lack of high-risk characteristics, I

cannot find that his likelihood of suffering serious illness or death as a result of

COVID-19 is so great as to present “exceptional” or “compelling” reasons for his

release.2

       Concerning the current lockdown conditions at FCI Sheridan, Mr. Berrios

reports that, since the first positive test result, inmates in his unit have been confined

to their cells almost 24 hours a day and are allowed out to shower or make phone calls

only every three or four days. These conditions alone do not present “exceptional” or

“compelling” reasons because they present hardships experienced by people

incarcerated at BOP institutions nationwide. And Mr. Berrios’ motion does not assert

that the conditions have a unique impact on or pose a particularized risk to him. See

United States v. Stephenson, No. 3:20-CR-18-CRS, 2020 WL 1811353, at *3 (W.D. Ky

Apr. 8, 2020) (section 3142(i) requires “a particularized finding of necessity”); United

States v. Garcia, 340 F.3d 1013, 1019 (9th Cir. 2003) (section 3145(c) requires courts

to “examine the totality of the circumstances and . . . determine whether, due to any

truly unusual factors or combination of factors . . . it would be unreasonable to

incarcerate the defendant prior to” sentencing); Garcia, 340 F.3d at 1022

(“[h]ardships that commonly result from imprisonment do not meet the [‘exceptional



        2 Indeed, Mr. Berrios’ proposed release plan appears to present a greater risk of contracting

COVID-19. As of July 31, 2020, Malheur County, where Mr. Berrios proposes release, had 646 COVID -
19 cases and 9 deaths and had an infection rate of 201.7 per 10,000 people, the third highest rate for
Oregon counties. Oregon’s COVID-19 Testing and Outcomes by County, OREGON HEALTH AUTHORITY
COVID-19 (July 31, 2020), https://public.tableau.com/profile/ oregon.health.
authority.covid.19#!/vizhome/OregonCOVID -19TestingandOutcom esbyCounty/OregonsCOVID-19
TestingandOutcomesbyCounty?: display_count=y&:toolbar=n&:origin=viz_share_link&:showShareOp
tions=false (last visited July 31, 2020).



Page 5 – OPINION AND ORDER
        Case 6:19-cr-00257-AA     Document 61     Filed 08/03/20   Page 6 of 8




reasons’] standard” and “[o]nly in truly unusual circumstances” will pre-sentencing

release be appropriate).

      Finally, although Mr. Berrios’ due process, cruel and unusual punishment, and

right to counsel challenges to the conditions at FCI Sheridan were asserted in passing

without further discussion or reference to authority, I will briefly address them here.

      First, “under the Due Process Clause, a detainee may not be punished prior to

an adjudication of guilt in accordance with due process of law.” Bell v. Wolfish, 441

U.S. 520, 535 (1979). To establish “punishment” that violates due process Mr. Berrios

must show either that the lockdown conditions are “intended to punish,” or “excessive

in relation to its non-punitive purpose,” or “employed to achieve objectives that could

be accomplished in so many alternative and less harsh methods.” Jones v. Blanas,

393 F.3d 918, 934 (9th Cir. 2004) (citations omitted and alterations normalized).

There is no evidence that FCI Sheridan officials imposed the lockdown conditions to

punish Berrios or any other inmates. As Berrios acknowledges, the conditions seek

to stop the spread of COVID-19, a highly-contagious disease that spreads particularly

quickly in prison environments where less restrictive prevention measures are not

possible.

      Next, the Eighth Amendment’s prohibition on cruel and unusual punishment

does not appear to apply to pretrial detainees since the Due Process Clause prohibits

any punishment of such persons. See id. at 535 n.16 (“Due process requires that a

pretrial detainee not be punished. A sentenced inmate, on the other hand, may be

punished, although that punishment may not be ‘cruel and unusual’ under the Eighth




Page 6 – OPINION AND ORDER
        Case 6:19-cr-00257-AA      Document 61     Filed 08/03/20    Page 7 of 8




Amendment.”). Further, when an Eighth amendment claim is based on conditions of

confinement that are not formally imposed as a sentence for a crime, proof of a

subjective component is required. Helling v. McKinney, 509 U.S. 25, 29–30 (1993).

Generally, that subjective component is “deliberate indifference” but in the context of

emergency actions, conditions are actionable only if they are imposed “maliciously

and sadistically for the very purpose of causing harm.” Whitely v. Albers, 475 U.S.

312, 320–321 (1986). The “deliberate indifference” standard requires proof that

prison officials “consciously disregard[ed] a substantial risk of serious harm.” Farmer

v. Brennan, 511 U.S. 825, 839 (1994) (internal quotation marks omitted). Mr. Berrios’

motion does not identify any risk of harm posed by the lockdown conditions at FCI

Sheridan. Further, as noted, those conditions are part of FCI Sheridan officials’ effort

to reduce the risk of harm posed by the COVID-19 outbreak at the facility.

      Finally, “[n]ot every restriction on counsel’s time or opportunity to investigate

or consult with [their] client or otherwise prepare for trial violates a defendant’s Sixth

Amendment right to counsel.” Morris v. Slappy, 461 U.S. 1, 11 (1983). Mr. Berrios

did not describe how conditions at FCI Sheridan have interfered with his ability to

work with counsel and, although FCI Sheridan’s suspension of in-person legal visits

and Mr. Berrios’ limited access to the telephone does make preparing for sentencing

more difficult, those restrictions do not appear to unreasonably burden or

significantly interfere with his access to counsel at this time. See United States v.

Granados, CR 20-00019-CJC-2, 2020 WL 3871448, at *4 (S.D. Cal. July 9, 2020)

(concluding that restrictions on legal visits imposed because of the coronavirus




Page 7 – OPINION AND ORDER
          Case 6:19-cr-00257-AA   Document 61    Filed 08/03/20   Page 8 of 8




pandemic did not violate the Sixth Amendment or warrant release); United States v.

Otunyo, No. CR 18-251 (BAH), 2020 WL 2065041, at *9 n. 10 (D.D.C. Apr. 28, 2020)

(same).     s

                                  CONCLUSION

      For the reasons stated above, Mr. Berrios’ Motion for Pretrial Release (doc. 56)

is DENIED.

      IT IS SO ORDERED.

                 3rd day of August 2020.
      Dated this ___




                                    /s/Ann Aiken
                            __________________________
                                   Ann Aiken
                           United States District Judge




Page 8 – OPINION AND ORDER
